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12
13                         UNITED STATES DISTRICT COURT

14                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16 MICHELE DENISE DUKES,                 No. 2:20-cv-05939-JEM
17
           Plaintiff,                    JUDGMENT OF REMAND
18
19                v.
20 ANDREW SAUL, Commissioner of
21 Social Security,
22             Defendant.
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27
28
     Case 2:20-cv-05939-JEM Document 21 Filed 04/29/21 Page 2 of 2 Page ID #:567




1
            The Court having approved the parties’ Stipulation to Voluntary Remand
2
     Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
3
     (“Stipulation to Remand”) lodged concurrently with the Judgment of Remand, IT
4
     IS HEREBY ORDERED, ADJUDGED AND DECREED that the above
5
     captioned action is remanded to the Commissioner of Social Security for further
6
     proceedings consistent with the terms of the Stipulation to Remand.
7
8
9 DATED: 4/29/21
10                                         HON. JOHN E MCDERMOTT
                                           UNITED STATES MAGISTRATE JUDGE
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     Proposed Judgment of Remand             1
